Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.18 Filed 09/27/21 Page 1 of 21




                           U.S. DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
                                        ) Case No.: 21-00831
ERIN KOSCH,                             ) State Court Case No.: 21-35856-CK
                                        ) HON. ROBERT J. JONKER
      Plaintiff,                        )
                                        )
v                                       )
                                        )
TRAVERSE CITY AREA PUBLIC               )
SCHOOLS and CINDY BERCK,                )
                                        )
      Defendants.                       )
____________________________________)
HURLBURT, TSIROS & ALLWEILL, P.C.
BY: MANDEL I. ALLWEIL (P34115)
Attorney for Plaintiff
821 S. Michigan Avenue
P.O. Box 3237
Saginaw, MI 48605
(989) 790-3221
__________________________________________
O’NEILL, WALLACE & DOYLE, P.C.
GREGORY W. MAIR (P 67465)
Attorney for Defendants
300 St. Andrews Road, Suite 302
Saginaw, MI 48638
(989) 790-0960
__________________________________________

      ANSWER TO PLAINTIFF’S COMPLAINT, NEW MATTER &
          AFFIRMATIVE DEFENSES AND JURY DEMAND

     NOW COME the above-named Defendants, TRAVERSE CITY AREA

PUBLIC SCHOOLS and CINDY BERCK, by and through their attorney,

GREGORY W. MAIR, and for their answer to Plaintiff’s Complaint, states as
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.19 Filed 09/27/21 Page 2 of 21




follows:

      1.    Plaintiff Erin Kosch resides at 14620 Peninsula Drive, Traverse City,

MI 49686, and she has worked as an educator and teacher for a period in excess of

22 years and has accrued in excess of 27 years seniority.

      ANSWER:         Defendants admit the allegations of said Paragraph of

Plaintiff’s Complaint, upon information and belief.

      2.    Defendant Traverse City Area Public Schools is a governmental

agency with its principal office located at 412 Webster Street, Traverse City, MI

49686 and Defendant Cindy Berck, at all times material herein, was employed by

Defendant Traverse City Area Public Schools as its Director of Human Resources.

      ANSWER:         Defendants admit the allegations of said Paragraph of

Plaintiff’s Complaint, upon information and belief.

      3.    Plaintiff Kosch was employed by Defendant as a tenured full-time

teacher within the meaning of MCL 38.71(1) for the 2020-2021 school year

pursuant to an agreement between her and the school district.

      ANSWER:         Defendants admit the allegations of said Paragraph of

Plaintiff’s Complaint, upon information and belief.

      4.    In October of 2020, Defendant, in light of the coronavirus pandemic

and a positive COVID-19 test result in the Plaintiff’s school, decided to provide

instruction for Traverse City Central High School students through remote


                                         2
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.20 Filed 09/27/21 Page 3 of 21




(internet) teaching.

      ANSWER:          Defendants generally acknowledge the allegations of said

Paragraph of Plaintiff’s Complaint as being an accurate recitation of the virtual

learning platform that was implemented District-wide in response to the Covid-19

pandemic.

      5.     On or about October 22, 2020, Plaintiff conducted her classroom

teaching sessions from her home through remote video and audio conferencing

with her students.

      ANSWER:          Defendants admit the allegations of said Paragraph of

Plaintiff’s Complaint, upon information and belief.

      6.     At the conclusion of a class session on the aforesaid day, Plaintiff

inadvertently failed to turn off the audiovisual feed of the teleconferencing

software being used to provide instruction to her students.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint in the manner and form alleged and aver that Plaintiff maintained

consistent audiovisual connectivity with her students in connection with the

discharge of her duties as an educator for Defendant, Traverse City Area Public

Schools.

      7.     Not knowing that the camera and microphone of her computer’s

teleconferencing software were “on,” Plaintiff and her husband engaged in a


                                         3
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.21 Filed 09/27/21 Page 4 of 21




private conversation where brief mention was made concerning a student and the

student’s mother (a teacher employed by the Defendant).

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint to the extent that Plaintiff had any expectation of privacy in connection

with the discharge of her job duties and responsibilities as an educator for

Defendant, Traverse City Area Public Schools, of which these Defendants deny

any liability and / or damages in connection with the allegations contained in the

Plaintiff’s Complaint.

      8.     A student then and there recorded the conversation between Plaintiff

and her husband and caused the recorded conversation to be published on the

internet in violation of MCL 750.539e.

      ANSWER:         Defendants admit the allegations of said Paragraph of

Plaintiff’s Complaint only to the extent that the inappropriate conversation

occurred between Plaintiff and her spouse which was recorded by one of her

students and, further, deny the remaining allegations of said Paragraph of

Plaintiff’s Complaint as being legally and factually untrue.

      9.     Publication of the conversation between Plaintiff and her husband was

both a criminal and civil offense pursuant to MCL 750.539c and MCL 750.539h,

in that the student or students who eavesdropped and thereafter caused the private

conversation between Plaintiff and her husband to be recorded, published and


                                          4
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.22 Filed 09/27/21 Page 5 of 21




divulged on the internet did so willfully and without the consent of Plaintiff or her

husband.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue or otherwise unfounded.

      10.    The recording of the conversation between Plaintiff and her husband

thereafter came into the possession of Defendant.

      ANSWER:        Defendants acknowledge that they became aware of the

inappropriate conversation that took place during the Plaintiff’s discharge of her

job duties and responsibilities for Defendant, Traverse City Area Public Schools,

and promptly investigated same.

      11.    By the apparent nature of the conversation, Defendant knew or

reasonably should have known that the said recording was obtained in violation of

MCL 750.539c and that use of recording for any purpose is a felony punishable by

imprisonment in a state prison not more than 2 years, or by a fine of not more than

$2,000.00. See MCL 750.539e.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

      12.    Notwithstanding Defendant’s knowledge as aforesaid, Defendant

suspended Plaintiff’s employment on October 26, 2020 and summoned her to a

video teleconference meeting to discuss the aforesaid incident.


                                         5
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.23 Filed 09/27/21 Page 6 of 21




      ANSWER:        Defendants admit the allegations of said Paragraph of

Plaintiff’s Complaint to the extent that an investigation was promptly conducted

into the inappropriate conduct exhibited by the Plaintiff through the discharge of

her job duties and responsibilities for Defendant, Traverse City Area Public

Schools and, further, deny the remaining allegations of said Paragraph as being

legally and factually untrue, or otherwise unfounded.

      13.   Plaintiff was then and there advised that a meeting would be held the

following day and that she could not have representation by an attorney at the

meeting.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint in the manner and form alleged and aver that the Plaintiff was provided

all process that was due to her in connection with her job duties and

responsibilities as an educator for Defendant, Traverse City Area Public Schools.

      14.   The aforesaid meeting was held on October 27, 2020, with Cindy

Berck, Defendant’s Human Resources Manager, and other representatives of the

Defendant in attendance.

      ANSWER:        Defendants admit the allegations of said Paragraph of

Plaintiff’s Complaint, upon information and belief.




                                         6
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.24 Filed 09/27/21 Page 7 of 21




      15.   In the course of the aforesaid meeting the following occurred:

      (a)   Plaintiff was falsely accused of violating student privacy rights under

the Family Educational and Privacy Rights Act (FERPA), 20 USC § 1232g,

notwithstanding that no provision of FERPA applied to any matter raised in the

private conversation between Plaintiff and her husband;

      (b)   Plaintiff was falsely informed that, in the event that she did not submit

her resignation, her employment would be terminated and that she could be

subjected to a public tenure review hearing before the Traverse City Public

Schools Board of Education; and

      (c)   Plaintiff was told that, if she contested her termination and lost, she

would risk losing her pension and tenured teaching status.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint, including the allegations enumerated in subparagraphs (A.) – (C.) as

same are legally and factually unfounded and, further, the Defendants deny any

liability and / or damages in connection with the allegations contained in the

Plaintiff’s Complaint and aver that its actions were appropriate under the

circumstances while providing all process that was due to the Plaintiff in

connection with her job duties and responsibilities as an educator with Defendant,

Traverse City Area Public Schools.




                                         7
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.25 Filed 09/27/21 Page 8 of 21




      16.    That the intent and purpose of Defendant in suspending the Plaintiff’s

employment, and threatening the Plaintiff with severe injury including the loss of

her pension and/or pension rights, was to willfully extort a resignation from the

Plaintiff wherein she would abandon valuable and accrued property rights so as to

preserve other important rights including but not limited to her pension.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

      17.    Presented with the prospect of civil and/or criminal penalties for

alleged violations of FERPA, with the loss of her status as a tenured teacher and

with the loss of her pension, Plaintiff involuntarily resigned her position.

      ANSWER:          Defendants deny that the Plaintiff’s resignation was

involuntary, and further denies any coercion relating to the Plaintiff’s resignation

which was voluntary in nature when tendered on more than one occasion.

      18.    Under the circumstances hereinabove set forth, the termination of

Plaintiff’s employment was a constructive discharge as the Defendants willfully

sought and extorted the submission of Plaintiff’s involuntary resignation.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

      19.    The acts and omissions of Defendant and its employees and agents, as

described herein, were intended to and resulted in the violation of rights, including


                                           8
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.26 Filed 09/27/21 Page 9 of 21




but not limited to rights accorded to Plaintiff under the Michigan Teachers’ Tenure

Act, MCL 38.71 et. seq. Those rights include but are not limited to the following:

              (a)   Violation of §2 of the Act (MCL 38.102) by failing to specify

the charges against Plaintiff in writing signed by the person making the charges,

filling the charges with the Board of Education, and providing a copy of the

changes to Plaintiff, along with specification of the proposed outcome; and

      (b) Violation of §3 of the Act (MCL 38.103) by suspending Plaintiff from

active performance of her teaching duties without first filing charges against her;

and

      (c)     Violation of MCL 38.101 by discharging Plaintiff for a reason that

was unfounded, arbitrary and capricious and not in accordance with the provisions

of the said Act; and

      (d)     Violation of MCL 38.172 by forcing Plaintiff to waive her contractual

right to be dismissed or discharged from her employment only for reasonable and

just cause.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint including those enumerated in subparagraphs (A.) – (D.) as being

legally and factually unfounded.

      20.     At all times material herein, Defendant knew or had reason to know

that Plaintiff did not commit any offense that would support any discipline or


                                         9
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.27 Filed 09/27/21 Page 10 of 21




charges against her.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

      21.   Notwithstanding that Plaintiff committed no offense, Defendant

knowingly and willfully violated MCL 750.539c and applicable provisions of the

Michigan Teachers’ Tenure statute, as Defendant constructively terminated

Plaintiff’s employment.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint and aver that the Plaintiff voluntarily chose to resign from her

employment rather than face the consequences for her inappropriate actions.

                       COUNT I – BREACH OF CONTRACT

      22.   Plaintiff adopts and incorporates each and every of the foregoing

paragraphs of this Complaint as though here repeated word-for-word and

paragraph-for-paragraph.

      ANSWER: Defendants incorporate herein by reference their answers to

Paragraphs 1 – 21 of Plaintiff’s Complaint as if set forth herein in their entirety,

word for word.

      23.   Under the circumstances hereinabove set forth, the termination of

Plaintiff’s employment was a breach of contract and a violation of Plaintiff’s right

to continued employment in the absence of reasonable and just cause for her


                                        10
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.28 Filed 09/27/21 Page 11 of 21




dismissal.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

      24.    As a natural result of Defendants wrongful acts as described herein,

Plaintiff has suffered damages, including but not limited to loss of earnings and

employment benefits, that all said damages are permanent and/will last into the

indefinite future, and all said damages were proximately caused by Defendant’s

acts and omissions as hereinabove set forth.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

 COUNT II – INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
                 (DEFENDANT CINDY BERCK)

      25.    Plaintiff adopts and incorporates each and every of the foregoing

paragraphs of this Complaint as though here repeated word-for-word and

paragraph-for-paragraph.

      ANSWER: Defendants incorporate herein by reference their answers to

Paragraphs 1 – 24 of Plaintiff’s Complaint as if set forth herein in their entirety,

word for word.

      26.    The threats made by Defendant Cindy Berck to Plaintiff in connection

with the incident of October 22, 2020, and her continued employment by

Defendant Traverse City Area Public Schools, as set forth in Paragraph 16 of this
                                        11
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.29 Filed 09/27/21 Page 12 of 21




Complaint, were false and were made intentionally for the purpose of

inducing/extorting Plaintiff’s resignation and/or said threats were made recklessly

without regard to their truthfulness for the purpose of inducing Plaintiff’s

resignation.

      ANSWER: Defendants, specifically Defendant Berck, deny the allegations

of said Paragraph of Plaintiff’s Complaint as being inaccurate, untrue or otherwise

unfounded in connection with the investigation into the inappropriate conduct

exhibited by the Plaintiff in connection with the discharge of her job duties and

responsibilities as an educator with Defendant, Traverse City Area Public Schools.

      27.      Defendant Cindy Berck knew, or reasonably should have known, that

the recording of the private conversation between Plaintiff and her husband was

obtained in violation of MCL 750.539c and that its use for the purpose of

inducing/extorting Plaintiff’s resignation was felonious.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

      28.      Defendant Cindy Berck’s conduct in using the illegally obtained

recording to induce Plaintiff’s resignation was then and there extreme and

outrageous.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.


                                         12
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.30 Filed 09/27/21 Page 13 of 21




      29.   Under the circumstances hereinabove set forth, the threats made by

Defendant Cindy Berck to Plaintiff in connection with the incident of October 22,

2020 and her continued employment by Defendant Traverse City Area Public

Schools were made in bad faith and with malicious intent.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

      30.   As a direct and proximate result of Defendant Berck’s acts as herein

set forth, Plaintiff has suffered injuries and damages, including but not limited to

mental anguish and distress, embarrassment, humiliation, mortification, and loss of

earnings and employment benefits, that all said damages are permanent and/will

last into the indefinite future, and all said damages were proximately caused by

Defendant’s acts and omissions as hereinabove set forth.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

    COUNT III – VIOLATION OF PROCEDURAL DUE PROCESS
PURSUANT TO 42 U.S.C. § 1983 AND THE MICHIGAN CONSTITUTION,
                           ART. I § 17

      31.   Plaintiff adopts and incorporates each and every of the foregoing

paragraphs of this Complaint as though here repeated word-for-word and

paragraph-for-paragraph.




                                        13
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.31 Filed 09/27/21 Page 14 of 21




      ANSWER: Defendants incorporate herein by reference their answers to

Paragraphs 1 – 30 of Plaintiff’s Complaint as if set forth herein in their entirety,

word for word.

      32.    Pursuant to the Fourteenth Amendment to the United States

Constitution, a state actor shall not deprive a person of a property interest without

due process of law.

      ANSWER:         Defendants make no response regarding the Constitutional

amendment cited in said Paragraph of Plaintiff’s Complaint as same speaks for

itself, of which these Defendants deny any liability and / or damages in connection

with the allegations contained in the Plaintiff’s Complaint.

      33.    Any State actor who violates a person’s property interest without due

process of law, and does so under the color of state law, is liable pursuant to 42

U.S.C.A. § 1983.

      ANSWER:         Defendants make no response regarding the cited Federal

statute in said Paragraph of Plaintiff’s Complaint as same speaks for itself, of

which these Defendants deny any liability and / or damages in connection with the

allegations contained in the Plaintiff’s Complaint.

      34.    Plaintiff as a tenured employee, who had in excess of 27 years of

credited service, had a property interest in her continued employment and was

entitled to due process before the Defendants deprived her of that interest.


                                         14
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.32 Filed 09/27/21 Page 15 of 21




      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint in the manner and form alleged and aver that Defendants provided the

Plaintiff all process that was due before her tendered voluntary resignation and,

therefore, her claims fail as a matter of fact and law.

      35.    While acting in an individual, and as in a supervisory capacity as a

decision maker for the Defendant school district, Defendant Cindy Berck, deprived

the Plaintiff of due process as previously described.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

      36.    As a result of said deprivations, the Plaintiff was subject to extreme

and outrageous conduct that was intended to injure her rights, exposed her the

arbitrary and capricious exercise of municipal power and those deprivations “shock

the conscious”.

      ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

      37.    The aforesaid failures and the deprivation of due process constitutes a

violation of the Fourteenth Amendment for which Defendants, Traverse City Area

Public Schools and its Human Resources Administrator, Cindy Berck, are liable

pursuant to 42 USCA §1983 and pursuant to the relevant provisions of the State of

Michigan Constitution.


                                          15
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.33 Filed 09/27/21 Page 16 of 21




       ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

       38.    Defendants Traverse City Area Public Schools and its Human

Resource Director, Cindy Berck, acted with a reckless and/or callous indifference

to the Plaintiff’s constitutional rights.

       ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

       39.    As a direct and proximate result of Defendants, Traverse City Area

Public Schools and its Human Resource Director, Cindy Berck, acts as

hereinabove set forth, Plaintiff has suffered injuries and damages, including but not

limited to mental anguish and distress, embarrassment, humiliation, mortification,

and loss of earnings and employment benefits, that all said damages are permanent

and/will last into the indefinite future, and all said damages were proximately

caused by Defendant’s acts and omissions as hereinabove set forth and because of

the callous indifference demonstrated by the named Defendants the Plaintiff is also

entitled for all costs and punitive damages as to be determined at the time of trial.

       ANSWER: Defendants deny the allegations of said Paragraph of Plaintiff’s

Complaint as being legally and factually untrue.

       WHEREFORE,          Defendants,      TRAVERSE      CITY     AREA      PUBLIC

SCHOOLS and CINDY BERCK, pray that this Court and / or jury enter a verdict


                                            16
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.34 Filed 09/27/21 Page 17 of 21




in their favor together with actual and statutory costs and attorney fees to be taxed,

and, Defendants deny that the Plaintiff is entitled to any of the relief sought

including those delineated in subparagraphs (A.) – (D.) as outlined in her

Complaint.

              NEW MATTER AND AFFIRMATIVE DEFENSES

      NOW COME the above-named Defendants, TRAVERSE CITY AREA

PUBLIC SCHOOLS and CINDY BERCK, by and through their attorney,

GREGORY W. MAIR, and, by way of New Matter and Affirmative Defenses, will

show as follows:

      A.     That the Plaintiff’s Complaint fails to set forth a claim or cause of

action against these Defendants and the Court lacks personal and / or subject

matter jurisdiction over some or all of Plaintiff’s claims.

      B.     That the Defendants will show that, at all times relevant, they acted

without malice or ill will and had good faith in performance of their duties and, as

a result, are immune from suit recovery by Plaintiff in this case.

      C.     Defendants will show that the Plaintiff has failed to prove any

deprivation of any Federal or State right, nor has Plaintiff alleged or proven any act

of deprivation taken under color of law sufficient to maintain an action based on 42

U.S.C. § 1983.




                                          17
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.35 Filed 09/27/21 Page 18 of 21




      D.       That the proofs will show that Defendants were guided by, and strictly

observed, all the duties and obligations imposed by law or otherwise, and further,

all actions of Defendants’ agents, servants, employees or associates were careful,

prudent, proper and lawful.

      E.       The Plaintiff’s Complaint is barred by the applicable statute of

limitations.

      F.       That the Plaintiff has failed to mitigate her damages.

      G.       That these Defendants are entitled to qualified immunity relative to

Plaintiff’s claims.

      H.       That Plaintiff failed to exhaust all administrative remedies applicable

to her employment.

      I.       That the proofs will show that the Plaintiff voluntarily resigned on at

least one (1) occasion, and her resignation was properly accepted by the

Defendants barring the instant suit.

      J.       That the Plaintiff had no expectation of privacy in conjunction with

the discharge of her job duties and responsibilities, including those discharged in

conjunction with the District-imposed virtual learning platform.

      K.       That the civil and criminal violations cited in the Plaintiff’s Complaint

by others not employed directly by the District, do not provide for a basis of

recovery relative to the allegations contained in the Plaintiff’s Complaint.


                                           18
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.36 Filed 09/27/21 Page 19 of 21




       L.     That the Defendants rely upon the fact that there was no intent to

cause any injury and / or deprive the Plaintiff of any rights in conjunction with her

employment as an educator with Defendant, Traverse City Area Public Schools.

       M.     That the Plaintiff has waived any rights arising under any contract of

employment by virtue of her voluntary resignation which was tendered and

accepted by the District.

       N.     That Plaintiff was provided notice and opportunity to be heard barring

any Federal or State cause of action for due process violation.

       O.     That the Defendants, Traverse City Area Public Schools and Cindy

Berck, reserve the right to amend their Affirmative Defenses during the course of

this litigation.

       WHEREFORE,           Defendants,   TRAVERSE        CITY     AREA      PUBLIC

SCHOOLS and CINDY BERCK, pray that this Court and / or jury enter a verdict

in their favor together with actual and statutory costs and attorney fees to be taxed.

                                               Respectfully Submitted,


Dated: September 27, 2021                      /s/GREGORY W. MAIR (P67465)
                                               Attorney for Defendants
                                               300 St. Andrews Road, Suite 302
                                               Saginaw, MI 48638




                                          19
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.37 Filed 09/27/21 Page 20 of 21




                            DEMAND FOR JURY

      NOW COME the above-named Defendants, TRAVERSE CITY AREA

PUBLIC SCHOOLS and CINDY BERCK, by and through their Attorney,

GREGORY W. MAIR, and hereby demands a jury in the Trial of the above-

entitled cause of action.

                                   Respectfully Submitted,


Dated: September 27, 2021          /s/GREGORY W. MAIR (P67465)
                                   Attorney for Defendants
                                   300 St. Andrews Road, Suite 302
                                   Saginaw, Michigan 48638




                                     20
Case 1:21-cv-00831-RJJ-RSK ECF No. 3, PageID.38 Filed 09/27/21 Page 21 of 21




                         CERTIFICATE OF SERVICE

      I hereby certify that I electronically filed the foregoing paper with the Clerk

of the Court using the ECF system which will send confirmation of such filing to

the following:


Gregory W. Mair                               gregmair@owdpc.com
                                              dana@owdpc.com
                                              sheryl@owdpc.com

Mandel Allweil                                shyde@htalawyers.com
                                              mail@thalawyers.com

                                              Respectfully submitted,


Date: September 27, 2021                      s/ GREGORY W. MAIR (P67465)
                                              Attorney for Defendants
                                              300 St. Andrews Road, Suite 302
                                              Saginaw, MI 48638
                                              gmair@owdpc.com




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